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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


APPLE INC.,                                                C.A. No. 20-_________


                               Plaintiff,

v.

UNIVERSAL SECURE REGISTRY, LLC,


                               Defendant.



       COMPLAINT FOR DECLARATORY JUDGMENT OF NONINFRINGEMENT

        Plaintiff Apple Inc. (“Apple”) files this Complaint for Declaratory Judgment of

Noninfringement against Defendant Universal Secure Registry, LLC (“USR”) and alleges as

follows:

                                  NATURE OF THE ACTION

        1.      This is an action for a declaratory judgment of noninfringement arising under the

patent laws of the United States, Title 35 of the United States Code.

        2.      Apple is a California corporation with its principal place of business at One Apple

Park Way, Cupertino, California 95014. Apple designs, manufactures, and markets mobile

communication and media devices and personal computers, and sells a variety of related

software, services, accessories, networking solutions, and third-party digital content and

applications.

        3.      Apple’s many pioneering and revolutionary products spanning its history include

the Macintosh PC (first released in 1984), PowerBook (first released in 1991), Newton (first

released in 1993), PowerMac (first released in 1994), iMac (first released in 1998), iPod (first

released in 2001), iTunes Store (opened in 2003), MacBook (first released in 2006), iPhone and


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Apple TV (first released in 2007), Apple App Store (opened in 2008), Siri (first released in

2010), iPad (first released in 2010), Apple Pay (first released in 2014), Apple Watch (first

released in 2015), and AirPods (first released in 2016).

       4.      The United States Patent and Trademark Office has awarded Apple thousands of

patents protecting the technological inventions underlying Apple’s groundbreaking products and

services. Many well-known functionalities and features of Apple’s products were made possible

with the inventions of Apple engineers.
       5.      Defendant USR is a patent holding company focused on patent licensing. USR

purports to be the owner of U.S. Patent Nos. 9,947,000 (“’000 patent”), 9,928,495 (“’495

patent”), and 10,163,103 (“’103 patent”) (collectively, “the Asserted Patents”). The Chairman

and CEO of USR is Kenneth Weiss. Mr. Weiss is a named inventor on the Asserted Patents.

       6.      Apple does not infringe the Asserted Patents, as set forth below.

       7.      USR’s actions and statements have created a real and substantial controversy that

warrants issuance of a declaratory judgment of noninfringement concerning whether Apple

infringes the Asserted Patents.

       8.      This Court should not allow the imminent threat of a lawsuit to harm and cause

uncertainty to Apple’s business.

                                   PRIOR RELATED PROCEEDING

       9.      On May 21, 2017, USR filed a complaint for patent infringement against Apple,

Visa Inc., and Visa U.S.A. Inc. (collectively, “Visa”) styled Universal Secure Registry LLC v.

Apple Inc., et al., Case No. 17-585-CFC-SRF (“17-585 Case”). The four patents-in-suit in the

17-585 Case, U.S. Patent Nos. 8,577,813 (“’813 patent”), 8,856,539 (“’539 patent”), 9,100,826

(“‘826 patent”), and 9,530,137 (“’137 patent”) (collectively, the “17-585 Case Patents”), are all

related to one or more of the Asserted Patents in this action for declaratory judgment. The

Complaint in the 17-585 Case is attached to this Complaint as Exhibit A.




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       10.     The products accused of infringement in the 17-585 Case included Apple

Products that are capable of using Apple Pay or conducting transactions through Apple’s iTunes

software, including iPhones, and iPads (collectively “Accused Apple Products”).1
       11.     The present case is related to the 17-585 Case pursuant to District of Delaware LR

3.1(b)(1) and (2).

       12.     On August 25, 2017, Apple and Visa moved to dismiss the 17-585 Case under

Fed. R. Civ. P. 12(b)(6). Apple and Visa’s motion argued that the 17-585 Case Patents were

invalid for failure to claim patent-eligible subject matter under 35 U.S.C. § 101.

       13.     On June 29, 2018, USR’s counsel sent a letter to Apple stating that USR

“intend[ed] to move to add” the Asserted Patents to the 17-585 Case. That letter is attached to

this Complaint as Exhibit B. USR’s counsel further affirmed USR’s intent to add the Asserted

Patents to the 17-585 Case in a letter dated July 23, 2018. In that same letter, USR’s counsel

expressed USR’s intent to serve infringement claim charts on Apple. That letter is attached as

Exhibit C.

       14.     In October 2018, the 17-585 Case was stayed until the Patent Trial and Appeal

Board issued final written decisions in post-grant proceedings relating to the 17-585 Case Patents

filed in the United States Patent and Trademark Office. The stay concluded in January 2020,

after the last of the final written decisions in those post-grant proceedings issued.

       15.     On June 19, 2020, USR’s counsel sent an e-mail to Apple stating that “USR does

not intend to move to add new patents” to the 17-585 Case, but that “USR reserves the right to

assert additional patents (including patents that issued after the filing date of the complaint in this

action) in future cases.” A copy of that e-mail is attached as Exhibit D.

       16.     On June 30, 2020, Judge Connolly issued a Memorandum Opinion and

accompanying Order granting Apple and Visa’s motion to dismiss the complaint in the 17-585


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 The specific Apple Products accused of infringement in the 17-585 Case include at least the
products USR identified in its May 3, 2018 Initial Identification of Accused Products and
Asserted Patents. On information and belief, USR intends to assert infringement by additional
products as well (including, but not limited to newer models and/or versions of these products).

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Case under Fed. R. Civ. P. 12(b)(6). Judge Connolly’s Memorandum Opinion and

accompanying Order ruled that all four of the 17-585 Case Patents were invalid under 35 U.S.C.

§ 101, dismissed the complaint in the 17-585 Case with prejudice, and directed the case to be

closed. See 17-585 Case, D.I. 168.

                                           THE PARTIES
        17.    Apple is a California corporation having its principal place of business at One

Apple Park Way, Cupertino, California 95014.

        18.    On information and belief, USR is a limited liability company organized and

existing under the laws of the Commonwealth of Massachusetts with its principal place of

business at 59 Sargent St. in Newton, Massachusetts 02458.

                                JURISDICTION AND VENUE

        19.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a) because this action involves claims arising under the patent laws of the United

States, 35 U.S.C. § 1, et seq., and under the Federal Declaratory Judgment Act, 28 U.S.C. §§

2201 and 2202.

        20.    Personal jurisdiction and venue are proper in this Court pursuant to 28 U.S.C. §§

1391(b), 1391(c), because, on information and belief, USR has directed acts to this District,

including acts pertaining to the Asserted Patents.

        21.    For instance, in connection with USR’s business, USR has targeted Apple by

asserting infringement of the Asserted Patents as well as other related patents. In particular,

USR filed the 17-585 Case in this District alleging infringement by Apple and Visa of patents in

the same family as the Asserted Patents.

        22.    During the 17-585 Case, USR sent correspondence to Apple indicating USR’s

intent to assert the Asserted Patents either in the 17-585 Case or in some future case. See Ex. B-

D.

        23.    USR has also retained the law firm of Morris, Nichols, Arsht & Tunnell LLP

(“Morris Nichols”), including lawyers based in this District, to pursue its infringement


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allegations against Apple. On information and belief, Morris Nichols attorneys in this District

were and are responsible for managing various aspects of the 17-585 Case, including by drafting

and filing pleadings, motions, correspondence, and other litigation tasks.

        24.    On information and belief, Kenneth P. Weiss, the Chief Executive Officer of

USR, traveled to this District to attend a hearing relating to Apple and Visa’s motion to dismiss

in the 17-585 Case.

        25.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1391(c)
because a substantial part of the events giving rise to the claims alleged in this Complaint

occurred or arose out of litigation occurring in this District and USR has voluntarily subjected

itself to the Court’s personal jurisdiction with respect to the 17-585 Case.

        26.    For these and the reasons set forth below, a substantial controversy exists between

the parties which is of sufficient immediacy and reality to warrant declaratory relief.

        27.    USR’s actions and allegations, outlined above, have placed a strain on Apple’s

business and its personnel. USR’s present threat to file “future cases” against Apple casts further

uncertainty on Apple’s business. See Ex. D.

                                      THE ASSERTED PATENTS

        28.    On April 17, 2018, the United States Patent and Trademark Office (the “Patent

Office”) issued the ’000 patent. A true and correct copy of the ’000 patent is attached as Exhibit

E.

        29.    On information and belief, Defendant USR purports to be the owner of the ’000

patent by assignment. The ’000 patent lists Kenneth P. Weiss as the sole named inventor and

lists Defendant Universal Secure Registry LLC as the Applicant.

        30.    As of the filing of this Complaint, no assignment of ownership had been

specifically recorded against the ’000 patent in the Patent Office’s Patent Assignment Database.

        31.    On March 27, 2018, the Patent Office issued the ’495 patent. A true and correct

copy of the ’495 patent is attached as Exhibit F.




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       32.     On information and belief, Defendant USR purports to be the owner of the ’495

patent by assignment. The ’495 patent lists Kenneth P. Weiss as the sole named inventor and

lists Defendant Universal Secure Registry LLC as the Applicant.

       33.     As of the filing of this Complaint, no assignment of ownership had been

specifically recorded against the ’495 patent in the Patent Office’s Patent Assignment Database.

       34.     On December 25, 2018, the Patent Office issued the ’103 patent. A true and

correct copy of the ’103 patent is attached as Exhibit G.
       35.     On information and belief, USR purports to be the owner of the ’103 patent by

assignment. The ’103 patent lists Kenneth P. Weiss as the sole named inventor and lists

Defendant Universal Secure Registry LLC as the Applicant.

       36.     As noted above, in 2018, counsel for Defendant USR informed Apple that USR

intended to move for leave to amend the complaint in the 17-585 Case (where Defendant USR is

the sole Plaintiff) to assert infringement of the ’000, ’495, and ’103 patents. See Ex. B-C. USR

later indicated in correspondence that USR reserved the right to bring a future lawsuit alleging

infringement of the ‘000, ’495, and ’103 patents. See Ex. D.

                                          COUNT ONE

       (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,947,000)

       37.     Apple repeats and realleges Paragraphs 1 through 36 of this Complaint.

       38.     Apple has not infringed and does not infringe at least claim 22 of the ’000 patent,

directly, contributorily, or by inducement, literally or under the doctrine of equivalents,

individually or jointly, including through the making, use, importation into the United States,

sale, and/or offer for sale of the Accused Apple Products.

       39.     Claim 22 of the ’000 patent is directed to:

               A method for enabling a transaction involving a first party and a user, the method
               comprising:

               receiving authentication information of the user, wherein the authentication
               information comprises one or more of (a) biometric information and (b) a PIN or
               code;


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               authenticating an identity of the user based on the received authentication
               information;

               generating a one-time code in response to authenticating the user, wherein at least
               a portion of the one-time code is used to access account identifying information or
               user identifying information;

               communicating a signal comprising the one-time code to the first party in order to
               enable a transaction on behalf of the user;

               receiving, at the first party, the one-time code; and

               in response to receiving the one-time code, accessing the account identifying
               information or the user identifying information.

       40.     Apple does not infringe at least claim 22 of the ’000 patent because neither Apple

nor the Accused Apple Products in operation perform all the limitations required by claim 22.

       41.     As one example, claim 22 requires “authenticating an identity of the user.”

Neither Apple nor the Accused Apple Products in operation “authenticate” an “identity of the

user,” as those terms are used in the ’000 patent.

       42.     As a second independent example, claim 22 requires “in response to receiving the

one-time code, accessing the account identifying information or the user identifying

information.” The Accused Apple Products do not “retrieve” or “access” “account identifying

information” or “user identifying information” that is “associated with the user of the electronic

device” in “response to receiving” a “one-time code,” as those terms are used in the ’000 patent.

Nor does Apple direct or control or operate a joint enterprise with any other entity that retrieves

or accesses this information in response to receiving a one-time code.

       43.     Accordingly, at least for the above reasons, the Accused Apple Products do not

infringe claim 22 of the ’000 patent, either literally or under the doctrine of equivalents.

       44.     Apple also does not induce infringement of the ’000 patent, or otherwise

indirectly infringe the ’000 patent, because neither Apple nor the Accused Apple Products in




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operation directly infringe the ’000 patent for at least the reasons stated above and because Apple

has not acted with specific intent necessary for induced infringement.

          45.   Apple also does not contributorily infringe at least claim 22 of the ’000 patent

because there is no direct infringement for at least the reasons stated above and because the

Accused Apple Products have substantial non-infringing uses.

          46.   Apple also does not jointly infringe at least claim 22 of the ’000 patent in

conjunction with any other party at least because it does not operate any joint enterprise with or
direct and control the acts of any third party merchant, payment network operator, or bank.

          47.   Apple does not infringe the remaining claims of the ’000 patent for at least one or

more of the above reasons.

          48.   As set forth above, there exists an actual controversy between Apple and USR

with respect to alleged infringement of the ’000 patent of sufficient immediacy and reality to

warrant the issuance of a declaratory judgment as to whether the ’000 patent is infringed.

Accordingly, Apple is entitled to a judicial determination and declaration that it has not directly

infringed, induced others to infringe, or contributed to the infringement of any claim of the ’000

patent.

          49.   A judicial determination is necessary and appropriate so that Apple may ascertain

its rights regarding the claims of the ’000 patent.

                                          COUNT TWO

          (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,928,495)

          50.   Apple repeats and realleges Paragraphs 1 through 49 of this Complaint.

          51.   Apple has not infringed and does not infringe at least claim 8 of the ’495 patent,

directly, contributorily, or by inducement, literally or under the doctrine of equivalents, including

through its making, use, importation into the United States, sale, and/or offer for sale of the

Accused Apple Products.

          52.   Claim 8 of the ’495 patent is directed to:




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               A method for enabling a transaction involving a first party and a user, the method
               comprising:

               receiving authentication information of the user, wherein the authentication
               information comprises one or more of (a) biometric information and (b) a
               personal identification number (PIN) or code;

               authenticating an identity of the user based on the received authentication
               information;

               generating a one-time code in response to authenticating the user, wherein at least
               a portion of the one-time code is used to access account identifying information or
               user identifying information; and communicating a signal comprising the one-
               time code to the first party in order to enable a transaction on behalf of the user.

       53.     Apple does not infringe at least claim 8 of the ’495 patent because neither Apple

nor the Accused Apple Products in operation perform every limitation required by claim 8. As

one example, claim 8 requires “authenticating an identity of the user.” The Accused Apple

Products do not “authenticate” any specific “user,” as those terms are used in the ’495 patent.

       54.      As a second independent example, claim 8 requires “a portion of the one-time

code is used to access account identifying information or user identifying information.” Neither

Apple nor the Accused Apple Products in operation “use” any “one-time code…to access

account identifying information or user identifying information” as those terms are used in

the ’495 patent. Nor does Apple direct or control or operate a joint enterprise with any other

entity that “use[s]” any “account identifying information or user identifying information” as

required by claim 8.

       55.     Accordingly, at least for the above reasons, the Accused Apple Products do not

infringe claim 8 of the ’495 patent, either literally or under the doctrine of equivalents.

       56.     Apple also does not induce infringement of the ’495 patent, or otherwise

indirectly infringe the ’495 patent, because neither Apple nor the Accused Apple Products in

operation directly infringes the ’495 patent for at least the reasons stated above and because
Apple has not acted with specific intent necessary for induced infringement.




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          57.   Apple also does not contributorily infringe at least claim 8 of the ’495 patent

because there is no direct infringement for at least the reasons stated above and because the

Accused Apple Products have substantial non-infringing uses.

          58.   Apple also does not jointly infringe at least claim 8 of the ’495 patent in

conjunction with any other party at least because it does not operate any joint enterprise with or

direct and control the acts of any claimed “first party,” third party merchant, payment network

operator or bank.
          59.   Apple does not infringe the remaining claims of the ’495 patent for at least one or

more of the above reasons.

          60.   As set forth above, there exists an actual controversy between Apple and USR

with respect to alleged infringement of the ’495 patent of sufficient immediacy and reality to

warrant the issuance of a declaratory judgment as to whether the ’495 patent is infringed.

Accordingly, Apple is entitled to a judicial determination and declaration that it has not directly

infringed, induced others to infringe, or contributed to the infringement of any claim of the ’495

patent.

          61.   A judicial determination is necessary and appropriate so that Apple may ascertain

its rights regarding the claims of the ’495 patent.

                                         COUNT THREE

          (Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,163,103)

          62.   Apple repeats and realleges Paragraphs 1 through 61 of this Complaint.

          63.   Apple has not infringed and does not infringe at least claim 1 of the ’103 patent,

either directly, contributorily, or by inducement, literally or under the doctrine of equivalents,

including through its making, use, importation into the United States, sale, and/or offer for sale

of the Accused Apple Products.

          64.   Claim 1 of the ’103 patent is directed to:

                A system for authenticating a user for enabling a transaction, the system
                comprising:



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               a first device including:

               a first processor, the first processor programmed to authenticate a user of the first
               device based on secret information known to the user of the first device and to
               generate first authentication information and also configured to receive first
               biometric information of the user of the first device from a biometric sensor and
               to retrieve information corresponding to previously stored second biometric
               information of the user of the first device;

               a first wireless transceiver coupled to the first processor and programmed to
               transmit a first wireless signal; and

               the biometric sensor configured to capture the first biometric information of the
               user of the first device; and

               wherein the first processor is programmed to generate the first wireless signal
               including two or more of the first authentication information, at least a portion of
               at least one of the first biometric information and the second biometric
               information, and a time varying value subsequent to generation of the first
               authentication information, to provide the first wireless signal for processing by a
               second device; and

               wherein the first processor is configured to receive an enablement signal
               indicating an approved transaction from the second device, wherein the
               enablement signal provided from the second device is based on one of the second
               device retrieving biometric information associated with the user of the first device
               from stored biometric information of a plurality of first users stored in a second
               memory of the second device and generating an indication of biometric
               authentication or the second device receiving the indication of biometric
               authentication associated with the user of the first device, and wherein the second
               device is also configured to use at least a portion of the first wireless signal with
               the indication of biometric authentication of the user of the first device to
               complete processing of the transaction, wherein processing of the transaction
               includes authentication of an identity of the user of the first device to enable the
               transaction.
       65.     Apple does not infringe at least claim 1 of the ’103 patent because the Accused

Apple Products lack every limitation required by claim 1. As one example, claim 1 requires a

“first processor programmed to” both “authenticate a user of the first device based on secret

information” and “generate the first wireless signal.” The Accused Apple Products lack the

“first processor” that is programmed to “authenticate a user of the first device based on secret

information” and “generate the first wireless signal.”



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       66.     Separately and additionally, claim 1 requires the first processor to generate a “first

wireless signal including two or more of the first authentication information, at least a portion of

at least one of the first biometric information and the second biometric information, and a time

varying value subsequent to generation of the first authentication information.” The Accused

Apple Products do not generate a signal that meets the requirements of this claim limitation.

       67.     As a third independent example, claim 1 requires the first processor to be

“programmed to … retrieve information corresponding to previously stored second biometric
information of the user of the first device.” But the Accused Apple Products do not store any

“second biometric information of the user” or “retrieve” any information “corresponding to” any

such stored biometric information as those terms are used in the ’103 patent. Therefore, the

Accused Apple Products cannot meet the claim limitation.

       68.     Finally, to the extent claim 1 requires a “second device” that must be configured

to, for example, “use at least a portion of the first wireless signal with the indication of biometric

authentication of the user of the first device to complete processing of the transaction,” the

Accused Apple Products do not comprise a “second device.” Further, the Accused Apple

Products do not “use” any “first wireless signal with the indication of biometric authentication of

the user of the first device to complete processing of the transaction.” Nor does Apple direct or

control or operate a joint enterprise with any other entity that “use[s]” any “first wireless signal”

as required by claim 1.

       69.     Accordingly, at least for the above reasons, the Accused Apple Products do not

infringe claim 1 of the ’103 patent, either literally or under the doctrine of equivalents.

       70.     Apple also does not induce infringement of the ’103 patent, or otherwise

indirectly infringe the ’103 patent, because there is no direct infringement of the ’103 patent for

at least the reasons stated above and because Apple has not acted with specific intent necessary

for induced infringement.

       71.     Apple also does not contributorily infringe at least claim 1 of the ’103 patent

because there is no direct infringement for at least the reasons stated above and because the


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Accused Apple Products have substantial non-infringing uses, many of which do not involve

Apple Pay or conducting transactions.

       72.      Apple also does not jointly infringe at least claim 1 of the ’103 patent in

conjunction with any other party at least because it does not operate any joint enterprise with or

direct and control the acts of any third party merchant, payment network operator or bank.

       73.      Apple does not infringe the remaining claims of the ’103 patent for at least one or

more of the above reasons.
       74.      As set forth above, there exists an actual controversy between Apple and

Defendant with respect to alleged infringement of the ’103 patent of sufficient immediacy and

reality to warrant the issuance of a declaratory judgment as to whether the ’103 patent is

infringed. Accordingly, Apple is entitled to a judicial determination and declaration that it has

not directly infringed, induced others to infringe, or contributed to the infringement of any claim

of the ’103 patent.

       75.      A judicial determination is necessary and appropriate so that Apple may ascertain

its rights regarding the claims of the ’103 patent.

                                      PRAYER FOR RELIEF

       WHEREFORE, Apple respectfully requests that judgment be entered:

       A. Declaring that Apple has not and does not infringe, directly, contributorily, by

             inducement, literally or by equivalents, jointly, or willfully, any claim of

             the ’000, ’495, or ’103 patents by making, using, selling, offering to sell, and/or

             importing of the Accused Apple Products;

       B. If the facts demonstrate that the case is exceptional within the meaning of 35 U.S.C. §

             285, an award to Apple of its reasonable attorneys’ fees, expenses, and costs

             associated with this case;

       C. Awarding Apple any other remedy or relief to which it may be entitled and which the

             Court deems just, proper, and equitable.


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